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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMB ave to file RANTED
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UNITED STATES OF AMERICA

 

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) kmy k jackson Date
v. ) United States District Judge
)
RICHARD W. GATES ln, ) Crim. No. 17-201-2 (ABJ)
)
Defendant. ) FILED UNDER SEAL

DEFENDANT RICHARD W. GATES III’S MOTION FOR LEAVE TO FILE
UNDER SEAL EXHIBIT 1 TO MOTION FOR PERMISSION TO TRAVEL TO
BOSTON, MASSACHUSETTS, FOR HIS CHILDREN’S SPRING BREAK

Richard W. Gates III, proceeding pro se, hereby moves this Court for leave to tile
under seal Exhibit l. Mr. Gates contends that despite the general policy that public access to
judicial proceedings and judicial records is important to the proper functioning of our justice
system, there are good cause and compelling reasons in this instance for Exhibit l to not be
publicly disclosed The exhibit discloses specifics about the trip that Mr. Gates hopes to take
from March 2, 2018, through March 8, 2018. The proposed disclosure will sufficiently advise
the public, but not create unwarranted risk to Mr. Gates regarding his location The Court has
noted on more than one occasion that this case is subject to substantial publicity and media
coverage, and the addresses of the events should be protected What is more, the Coult has
previously granted Mr. Gates leave to file under seal similar exhibits when making requests to

modify his release conditions for limited purposes

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WHEREFORE, Mr. Gates hereby respectfully moves this Court for leave to file under
seal Exhibit l to his Motion for Permission to Travel to Boston, Massachusetts, for His

Children’s Spring Break. A draft order is attached

Respectfully submitted,

Richard W. Gates 111
Pro Se

206 Virginia Avenue
Richmond, VA 23226

